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 6                              UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF WASHINGTON
 7                                       AT SEATTLE

 8 UNITED STATES OF AMERICA

 9                                 Plaintiff,             Case No. CR11-365-RSL

10          v.                                            DETENTION ORDER

11 MANJIT DHUGGA,

12                                 Defendant.

13 Offenses charged:

14          Conspiracy to Smuggle, Harbor, and Transport Illegal Aliens, and
            Bringing Illegal Aliens into the United States.
15
     Date of Detention Hearing: November 4, 2011.
16
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f),
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     and based upon the factual findings and statement of reasons for detention hereafter set forth,
18
     finds that no condition or combination of conditions which the defendant can meet will
19
     reasonably assure the appearance of the defendant as required and the safety of any other person
20
     and the community.
21
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            The Court received no information about defendant’s ties to the community,
23
     employment, health or financial status. Defendant is not a citizen of the United States and an


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 1 immigration detainer has been lodged against her. Defendant stipulated to detention.

 2          It is therefore ORDERED:

 3          (1)    Defendant shall be detained pending trial and committed to the custody of the

 4 Attorney General for confinement in a correctional facility separate, to the extent practicable,

 5 from persons awaiting or serving sentences, or being held in custody pending appeal;

 6          (2)    Defendant shall be afforded reasonable opportunity for private consultation with

 7 counsel;

 8          (3)    On order of a court of the United States or on request of an attorney for the

 9 Government, the person in charge of the correctional facility in which Defendant is confined

10 shall deliver the defendant to a United States Marshal for the purpose of an appearance in

11 connection with a court proceeding; and

12          (4)    The Clerk shall direct copies of this order to counsel for the United States, to

13 counsel for the defendant, to the United States Marshal, and to the United States Pretrial Services

14 Officer.

15       DATED this 4th day of November, 2011.

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18
                                                          A
                                                          BRIAN A. TSUCHIDA
                                                          United States Magistrate Judge
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     DETENTION ORDER - 2
